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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA

                                                        DECISION AND ORDER
             v.                                              10-CR-184S


ANTONIO BRIGGS,

                                Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion by defendant Antonio Briggs for

reconsideration of his detention status and for release on bail (Dkt. No. 337).

Defendant seeks release on bail because he has been held in pretrial detention

for over 18 months, because his family circumstances favor release without

concern about a risk of flight, because he has a chronic medical condition that

requires attention, and because neither his criminal history nor the charges in

this case suggest an inclination toward violence. The Government opposes

reconsideration because this Court and Chief Judge Skretny together have

reviewed defendant’s detention several times and upheld it, and because

defendant presents no new relevant information this time. To the extent that

defendant’s medical condition might not have been discussed or considered

before, the Government considers it irrelevant.
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        The Court held oral argument on December 15, 2011. For the reasons

below, the Court denies the motion.

II.     BACKGROUND

        This case concerns allegations, developed across three indictments, that

defendant and others conspired to possess and to distribute multiple controlled

substances. In the third superseding indictment (Dkt. No. 202), filed on April 21,

2011, the Government charges defendant in three different counts. In Count

One, the Government charges defendant with conspiracy to possess with intent

to distribute, and actual distribution of, cocaine, cocaine base, heroin, 3,4-

methylenedioxymethamphetamine (“MDMA”), oxycodone, hydrocodone, and

marijuana, all in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B),

841(b)(1)(C), 841(b)(1)(D), 841(b)(1)(E), and 846. In Counts Two and Three,

the Government charges defendant with using a telephone to commit a drug

felony, in violation of 21 U.S.C. § 843(b).

        This Court and Chief Judge Skretny together have assessed defendant’s

detention status on multiple occasions. This Court arraigned defendant on the

original indictment on August 17, 2010; defendant has been in custody

continuously since. On August 26, 2010, this Court held a detention hearing, at

the end of which it ordered defendant detained as a flight risk and a danger to

the community. Defendant appealed that ruling to Chief Judge Skretny, who



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affirmed defendant’s detention in a Decision and Order filed on March 4, 2011.

(Dkt. No. 165.)

      In that Decision and Order, Chief Judge Skretny considered the rebuttable

presumption of flight risk and danger that arose under 18 U.S.C. § 3142(e)(3)(A)

by way of the maximum term of imprisonment that defendant faces. Chief Judge

Skretny also considered defendant’s attempts to rebut the presumption by

arguing “that he has significant ties to the Western New York area, no

out-of-state contacts, no history of violence, and no history of mental health

issues to corroborate the Government’s contention that he may harm himself if

released, and, further, that Pretrial Services recommended his release on

non-financial bond in its August 27, 2010 Report.” (Dkt. No. 165 at 3.) Chief

Judge Skretny concluded that “the nature of Defendant’s alleged offenses and

his potential for a lengthy period of incarceration provide a motive to flee and

weigh against release.” (Id. at 4.) Chief Judge Skretny further concluded that

the evidence against defendant appears to be strong, including evidence that

defendant’s family was involved in drug trafficking and that defendant’s clothing

store served as a cover for drug trafficking. Additionally, Chief Judge Skretny

noted defendant’s criminal history and the evidence indicating that defendant’s

family was attempting to learn the identities of confidential informants working

with the Government so as to threaten them. Finally, Chief Judge Skretny cited

an Amended Pretrial Services Report of February 8, 2011 that contained a

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modified recommendation that defendant be detained. Ultimately, Chief Judge

Skretny decided that defendant had a significant motive to flee and that both his

history and his desire to hurt confidential informants posed a danger to the

community. Chief Judge Skretny affirmed this Court’s order of detention.

      Later in the case, defendant took one more opportunity to challenge his

detention before Chief Judge Skretny. On April 7, 2011, defendant filed a

motion for severance and for an immediate trial. (Dkt. No. 194.) That motion

ended with a request for alternative relief in the form of reconsideration of

detention. (Id. ¶ 73.) In a Decision and Order filed on August 29, 2011 (Dkt. No.

282), Chief Judge Skretny denied the requests for severance and an immediate

trial and also denied the request for alternative relief. Specifically, Chief Judge

Skretny noted that he affirmed detention once before and that “[t]he grounds on

which that decision were made remain.” (Id. at 11.)

      With the pending motion, defendant seeks review of his detention for a

third time. In support of his motion, defendant notes the length of his detention,

the pretrial motion practice of other co-defendants, and his willingness to waive

pretrial motions. Defendant argues again that he has significant ties to Western

New York and has never been charged with a violent offense. For the first time,

defendant provides details about a chronic eye condition from which he suffers,

a condition called keratoconus. This condition required surgery in 1994 and

2001. Defendant further mentions that release on conditions would allow him to

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rescue his struggling urban clothing store, which has been in the hands of his

brother since his arrest. Finally, defendant notes his inability to maintain a close

relationship with his son, along with the burden that his wife has been carrying to

support the family while he has been in jail. In opposition to the motion, the

Government cites the previous reviews of defendant’s detention and notes that

no information has changed. With respect to defendant’s eye condition, the

Government offers no comment except to note that it is not a new condition and

that it is not material to defendant’s custody status.

III.     DISCUSSION

             Before addressing the underlying substance of defendant’s motion, the

Court must address the two prior reviews of detention that Chief Judge Skretny

already undertook in this case. Specifically, this Court needs to decide whether

Chief Judge Skretny’s prior orders upholding detention bar further consideration

under the doctrine of the law of the case.1 “As most commonly defined, the

doctrine [of law of the case] posits that when a court decides upon a rule of law,

that decision should continue to govern the same issues in subsequent stages in

the same case.” Arizona v. California, 460 U.S. 605, 618 (1983) (citation

omitted). As an example of how the doctrine operates, the Second Circuit has


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       That the pending motion is before a Magistrate Judge while the prior
orders affirming detention came from a District Judge by itself does not pose a
problem, since this Court could issue a Report and Recommendation if it wanted
to suggest a change in custody status.

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stated that it “will adhere to its own prior rulings in a given case absent cogent or

compelling reasons to deviate, such as an intervening change of controlling law,

the availability of new evidence, or the need to correct a clear error or prevent

manifest injustice.” U.S. v. Uccio, 940 F.2d 753, 758 (2d Cir. 1991) (internal

quotation marks and citations omitted).

      Here, defendant has not given this Court any “cogent or compelling

reasons” to recommend to Chief Judge Skretny that he revisit his prior

affirmances of defendant’s detention. As noted above, Chief Judge Skretny

already has entertained and rejected two challenges from defendant to this

Court’s detention order. (See generally Dkt. Nos. 165, 282.) In the orders

rejecting those challenges, Chief Judge Skretny already addressed the

rebuttable presumption of flight and dangerousness stemming from the

maximum penalties that defendant faces; defendant’s ties to Western New York;

the absence of out-of-state contacts or a history of violence; the absence of

mental health issues; defendant’s criminal history; the strength of the evidence

against defendant; and the recommendation from the United States Probation

Office, dated February 8, 2011, that defendant remain in custody.

      In the pending motion, which functions essentially as a third request for

reconsideration of bail, defendant mostly repeats information that Chief Judge

Skretny already has reviewed twice. Only two pieces of information could be

considered new but do not constitute exceptions to the law of the case doctrine.

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Defendant has provided details and medical records about his chronic eye

condition but has not asserted that any of this information became available after

Chief Judge Skretny’s orders. Defendant also has not asserted that he needs

treatment available only outside of jail, or that his condition otherwise would

improve as a result of a change in custody status. Second, Defendant has

asserted that, obviously, his detention now has run longer than when he last

requested reconsideration. Defendant’s detention now stands at over 18

months, but length of detention by itself constitutes neither an exception to the

law of the case doctrine nor a dispositive factor under the bail statute. See U.S.

v. Millan, 4 F.3d 1038, 1044 (2d Cir. 1993) (“Length of detention will rarely by

itself offend due process. This court has upheld projected pretrial detention

periods of up to thirty-two months.”) (internal quotation marks and citations

omitted); accord U.S. v. Beutler, No. 09-CR-96, 2011 WL 3321374, at *1

(W.D.N.Y. Aug. 2, 2011) (McCarthy, M.J.) (“[Defendant’s] approximately 26

months of pretrial detention, standing alone, does not violate due process.”)

(citing Millan).

       In sum, then, defendant has gathered the same information about his

case that was available during prior detention determinations and is hoping for a

different outcome this time. Without any reason to conclude that legal or factual

circumstances have changed, this Court finds that Chief Judge Skretny’s prior



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decisions are the law of the case and that no basis exists to recommend a

revision of those decisions.

IV.     CONCLUSION

        For all of the foregoing reasons, the Court denies defendant’s motion for

reconsideration of detention (Dkt. No. 337).

        SO ORDERED.

                                       ______ /s Hugh B. Scott_____________
                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE

DATED: March 12, 2012




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